 Fill in this information to identify the case:

  Debtor 1       Daniel A. Martinez

  Debtor 2       Kimberly A. Martinez

 United States Bankruptcy Court for the: Eastern District of Michigan

 Case number :    16-50782-pjs



Official Form 410S1
Notice of Mortgage Payment Change                                                                                                                 12/15

If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor's
principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form as a supplement to
your proof of claim at least 21 days before the new payment is due. See Bankruptcy Rule 3002.1.
     Name of               NewRez LLC d/b/a Shellpoint Mortgage Servicing                           Court claim no.                                   19
     creditor:                                                                                      (if known):
     Last 4 digits of any number                                                                    Date of payment change:                   09/01/2020
     you use to identify the debtor's                                    9008                       Must be at least 21 days after date of
     account:                                                                                       this notice

                                                                                                    New total payment:                        $1,906.95
                                                                                                    Principal, interest, and escrow, if any


Part 1:      Escrow Account Payment Adjustment

1.   Will there be a change in the debtor's escrow account payment?
      [ ] No
      [X]    Yes. Attach a copy of the escrow account statement prepared in a form consistent with the applicable nonbankruptcy law.
                       Describe the basis for the change. If a statement is not attached, explain why:

                             Current escrow payment: $850.52                             New escrow payment: $815.76



Part : 2     Mortgage Payment Adjustment

2. Will the debtor's principal and interest payment change based on an adjustment to the interest rate on the debtor's
   variable-rate account?

      [X] No
      [ ] Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a
                     notice is not attached, explain why:

                      Current interest rate:                                    New interest rate:
                      Current Principal and interest payment:                   New principal and interest payment:



Part 3:      Other Payment Change

3. Will there be a change in the debtor's mortgage payment for a reason not listed above?
       [X] No
       [ ] Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification
                      agreement. (Court approval may be required before the payment change can take effect).
                      Reason for change:
                             Current mortgage payment:                                   New mortgage payment:




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Debtor 1 Daniel A. Martinez                                                           Case number (if known)           16-50782-pjs
                First Name               Middle Name          Last Name




Part 4:           Sign Below

 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.

Check the appropriate box:


[]       I am the creditor.

[X]       I am the creditor's attorney or authorized agent.


I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
knowledge, information, and reasonable belief.


                     /S/ Lynn Pluister
                                                                                            Date    08/04/2020
    Signature



Print:                       Lynn Pluister                                       Title Authorized Agent for Creditor

Company                      Padgett Law Group

Address                      6267 Old Water Oak Road, Suite 203

                             Tallahassee FL, 32312

Contact phone                (850) 422-2520                   Email              bkcrm@padgettlawgroup.com




Official Form 410S1                                                   Notice of Mortgage Payment Change                                             page 2
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                              IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE EASTERN DISTRICT OF MICHIGAN
                                          DETROIT DIVISION

IN RE: Daniel A. Martinez,                                             Case No: 16-50782-pjs
    Kimberly A. Martinez                                               Chapter 13

                  Debtors(s)
_________________________________________/




                                         CERTIFICATE OF SERVICE

                                             5th day of August, 2020, a true and correct copy of the
         I HEREBY CERTIFY that, on this the _____

foregoing was served by U.S., First Class, and/or electronic transmission to:

Debtor
Daniel A. Martinez
28336 Hunter Court
Flat Rock, MI 48134

Co-Debtor
Kimberly A. Martinez
28336 Hunter Court
Flat Rock, MI 48134

Attorney
Bryan Yaldou
Consumer Protection Attys of MI, PLLC
23000 Telegraph Rd.
Suite 5
Brownstown, MI 48134

Trustee
David Wm Ruskin
26555 Evergreen Rd Ste 1100
Southfield, MI 48076-4251

                                                       /S/ Lynn Pluister

                                                       ___________________________________
                                                       LYNN PLUISTER
                                                       PADGETT LAW GROUP
                                                       6267 Old Water Oak Road, Suite 203
                                                       Tallahassee, FL 32312
                                                       (850) 422-2520 (telephone)

Official Form 410S1                          Notice of Mortgage Payment Change                               page 3
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                                               (850) 422-2567 (facsimile)
                                               bkcrm@padgettlaw.net
                                               Authorized Agent for Creditor




Official Form 410S1                  Notice of Mortgage Payment Change                       page 4
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                                                          Shellpoint Mortgage Servicing
                                                          PO Box 10826
                                                          Greenville, SC 29603 0826
                                                          For Inquiries: (800) 365-7107

                                                                                                               Analysis Date:                                      July 30, 2020
       DANIEL A MARTINEZ                                                                                       Loan:
       28336 HUNTER CT                                                                                         Property Address:
       FLAT ROCK MI 48134                                                                                      28336 HUNTER CT
                                                                                                               FLAT ROCK, MI 48134




                                                Annual Escrow Account Disclosure Statement - Account History
     The following is an overview of your escrow account with Shellpoint Mortgage Servicing. It contains the history of escrow payments made on your
     behalf in the prior year, and a snapshot of the anticipated disbursements for the coming year. Any potential adjustments due to increases or
     decreases with your escrow items may affect your monthly escrow payment. If your escrow payment increases, your monthly payment will also
     increase. If the escrow payment decreases, your mortgage payment will decrease.
Payment Information       Contractual    Effective Sep 01, 2020        Prior Esc Pmt      September 01, 2019          Escrow Balance Calculation
P & I Pmt:                  $1,091.19                  $1,091.19       P & I Pmt:                      $1,091.19      Due Date:                                      April 01, 2020
Escrow Pmt:                  $644.34                     $815.76       Escrow Pmt:                       $850.52      Escrow Balance:                                    $1,020.82
Other Funds Pmt:                $0.00                      $0.00       Other Funds Pmt:                    $0.00      Anticipated Pmts to Escrow:                        $3,221.70
Asst. Pmt (-):                  $0.00                      $0.00       Asst. Pmt (-):                      $0.00      Anticipated Pmts from Escrow (-):                  $4,656.67
Reserve Acct Pmt:               $0.00                      $0.00       Resrv Acct Pmt:                     $0.00
Total Payment:              $1,735.53                  $1,906.95       Total Payment:                  $1,941.71      Anticipated Escrow Balance:                         -$414.15

Shortage/Overage Information                      Effective Sep 01, 2020          Cushion Calculation: Because Shellpoint Mortgage Servicing does not set your tax
Upcoming Total Annual Bills                                     $8,344.46         amounts or insurance premiums, your escrow balance contains a cushion of
Required Cushion                                                $1,030.50         1,030.50. A cushion is an additional amount of funds held in your escrow in order to
Required Starting Balance                                       $1,030.52         prevent the balance from becoming overdrawn when an increase in the
Escrow Shortage                                                -$1,444.67         disbursement amount occurs. Your lowest monthly balance should not be below
Surplus                                                             $0.00         1,390.74 or 1/6 of the anticipated payment from the account.


     This is a statement of actual activity in your escrow account from July2019 to Aug 2020. Last year's anticipated activity (payments to and from your
     escrow account) is next to the actual activity.
                        Payments to Escrow                    Payments From Escrow                                                Escrow Balance
        Date            Anticipated      Actual               Anticipated       Actual                 Description                Required              Actual
                                                                                                 Starting Balance                       0.00            777.88
       Jul 2019                                 658.44                                       *                                          0.00          1,436.32
       Jul 2019                                                                     180.12   *   FHA MI                                 0.00          1,256.20
       Aug 2019                                                                     180.12   *   FHA MI                                 0.00          1,076.08
       Aug 2019                                                                   4,116.31   *   City Tax                               0.00         (3,040.23)
       Sep 2019                                 658.44                                       *                                          0.00         (2,381.79)
       Sep 2019                                                                     180.12   *   FHA MI                                 0.00         (2,561.91)
       Oct 2019                                 658.44                                       *                                          0.00         (1,903.47)
       Oct 2019                                 658.44                                       *                                          0.00         (1,245.03)
       Oct 2019                                                                     180.12   *   FHA MI                                 0.00         (1,425.15)
       Nov 2019                                                                     180.12   *   PMI                                    0.00         (1,605.27)
       Dec 2019                                  850.52                                      *                                          0.00           (754.75)
       Dec 2019                                  850.52                                      *                                          0.00             95.77
       Dec 2019                                                                   1,116.71   *   City Tax                               0.00         (1,020.94)
       Dec 2019                                                                     180.12   *   PMI                                    0.00         (1,201.06)
       Jan 2020                                                                     180.12   *   PMI                                    0.00         (1,381.18)
       Feb 2020                                  850.52                                      *                                          0.00           (530.66)
       Feb 2020                                                                     180.12   *   PMI                                    0.00           (710.78)
       Mar 2020                                  850.52                                      *                                          0.00            139.74
       Mar 2020                                 (850.52)                                     *                                          0.00           (710.78)
       Mar 2020                                  850.52                                      *                                          0.00            139.74
       Apr 2020                                  850.52                                      *                                          0.00            990.26
       May 2020                                                                     720.48   *   PMI                                    0.00            269.78
       May 2020                                                                     950.00   *   Hazard                                 0.00           (680.22)
       Jun 2020                                  850.52                                      *                                          0.00            170.30
       Jul 2020                                  850.52                                      *                                          0.00          1,020.82
                                                                                                 Anticipated Transactions               0.00          1,020.82
       Jun 2020                                           P                        180.12        PMI                                                    840.70
       Jul 2020                                           P                        180.12        PMI                                                    660.58
       Aug 2020                               3,221.70 P                         4,116.31        City Tax                                              (234.03)
       Aug 2020                                           P                        180.12        PMI                                                   (414.15)
                                $0.00       $11,809.10              $0.00       $13,001.13
     An asterisk (*) indicates a difference from a previous estimate either in the date or the amount . If you want a further explanation, please call our toll -free number.
     P - The letter (P) beside an amount indicates that the payment or disbursement has not yet occurred but is estimated to occur as shown .
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                                                 Shellpoint Mortgage Servicing
                                                 For Inquiries: (800) 365-7107

                                                                                                   Analysis Date:                                    July 30, 2020
                                                                                                   Loan:

                                   Annual Escrow Account Disclosure Statement - Projections for Coming Year
 This is an estimate of activity in your escrow account during the coming year based on payments anticipated to be made to and from your account.
     Date                 Anticipated Payments                                                                              Escrow Balance
                         To Escrow       From Escrow             Description                                        Anticipated           Required
                                                                 Starting Balance                                     (414.15)                1,030.52
  Sep 2020                     695.37        180.12              PMI                                                   101.10                 1,545.77
  Oct 2020                     695.37        180.12              PMI                                                   616.35                 2,061.02
  Nov 2020                     695.37        180.12              PMI                                                 1,131.60                 2,576.27
  Dec 2020                     695.37      1,116.71              City Tax                                              710.26                 2,154.93
  Dec 2020                                   180.12              PMI                                                   530.14                 1,974.81
  Jan 2021                     695.37        180.12              PMI                                                 1,045.39                 2,490.06
  Feb 2021                     695.37        180.12              PMI                                                 1,560.64                 3,005.31
  Mar 2021                     695.37        180.12              PMI                                                 2,075.89                 3,520.56
  Apr 2021                     695.37        180.12              PMI                                                 2,591.14                 4,035.81
  May 2021                     695.37        180.12              PMI                                                 3,106.39                 4,551.06
  Jun 2021                     695.37        950.00              Hazard                                              2,851.76                 4,296.43
  Jun 2021                                   180.12              PMI                                                 2,671.64                 4,116.31
  Jul 2021                     695.37        180.12              PMI                                                 3,186.89                 4,631.56
  Aug 2021                     695.37        180.12              PMI                                                 3,702.14                 5,146.81
  Aug 2021                                 4,116.31              City Tax                                             (414.17)                1,030.50
                          $8,344.44        $8,344.46
 (Please keep this statement for comparison with the actual activity in your account at the end of the escrow accounting computation year.)

 Your ending balance from the last month of the account history (escrow balance anticipated) is (414.15). Your starting
 balance (escrow balance required) according to this analysis should be $1,030.52. This means you have a shortage of 1,444.67.
 This shortage may be collected from you over a period of 12 months or more unless the shortage is less than 1 month's
 deposit, in which case we have the additional option of requesting payment within 30 days. We have decided to collect it over 12 months.
 We anticipate the total of your coming year bills to be8,344.46. We divide that amount by the number of payments expected during the coming year to
 obtain your escrow payment.
  New Escrow Payment Calculation                                             Paying the shortage: If your shortage is paid in full, your new monthly payment will
  Unadjusted Escrow Payment                                   $695.37        be $1,786.56 (calculated by subtracting the Shortage Amount to the left and
  Surplus Reduction:                                             $0.00       rounding, if applicable). Paying the shortage does not guarantee that your
  Shortage Installment:                                       $120.39        payment will remain the same, as your tax or insurance bills may have changed.
  Rounding Adjustment Amount:                                    $0.00
  Escrow Payment:                                            $815.76

TO THE EXTENT YOUR OBLIGATION HAS BEEN DISCHARGED, DISMISSED OR IS SUBJECT TO AN AUTOMATIC STAY OF BANKRUPTCY ORDER UNDER TITLE11 OF THE UNITED STATES CODE, THIS
NOTICE IS FOR COMPLIANCE AND INFORMATION PURPOSES ONLY AND DOES NOT CONSTITUTE A DEMAND FOR PAYMENT OR ANY ATTEMPT TO COLLECT ANY SUCH OBLIGATION      .




 Detach Here
                                                                            Escrow Shortage Reply (This is not a bill)

   Shellpoint Mortgage Servicing                                               Loan Number:
   PO Box 10826                                                                Full Shortage Amount:                             $1,444.67
   Greenville, SC 29603 0826
                                                                               Payment Amount:                  $
   (800) 365-7107
                                                                               Your escrow shortage has been spread over 12 months, resulting
                                                                               in an additional increase in your monthly payment in the amount
                                                                               of 120.39.


   Shellpoint Mortgage Servicing                                               IF YOU CHOOSE to pay your shortage in full, please visit
                                                                               www.ShellpointMtg.com in order to expedite your payment. You
   P.O. Box 740039                                                             can also mail this coupon with your remittance of the full
   Cincinnati, OH 45274-0039                                                   shortage amount to the address to the left

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